       Case 1:06-cv-00315-RCL Document 73 Filed 12/07/09 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                    OF THE DISTRICT OF COLUMBIA

 CARLE A. BARNES, et al

                  Plaintiffs
                                      Civil Action No: 06-315 (RCL)
 v.
                                      Next Event: None scheduled
 GOVERNMENT OF THE DISTRICT
 OF COLUMBIA,

                  Defendant

                                 NOTICE


 MOTION to Compel the report by Karen Schneider entitled Review

of Paperflow Process between the Superior Court, the U. S. Marshals

             Service, and the Department of Corrections


Plaintiffs filed their Motion to compel the report by Karen Schneider

entitled Review of Paperflow Process between the Superior Court, the U.

S. Marshals Service, and the Department of Corrections on 10/28/2009

(docket #66). Defendant has produced the final report and the

preliminary report and defendant has represented that there are no other

documents reposinsive to the request.
       Case 1:06-cv-00315-RCL Document 73 Filed 12/07/09 Page 2 of 2




Therefore plaintiffs hereby withdraw the motion(docket #66).


                      Respectfully submitted,

                      _______/sigwcc/______________
                      WILLIAM CLAIBORNE
                      D.C. Bar #446579
                      Counsel for plaintiffs

                      717 D Street, N.W.
                      Suite 210
                      Washington, D.C. 20004
                      Phone 202/824-0700
                      Fax 202/824-0745
                      email law@claiborne.net
